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         EXHIBIT E
     Case 8:19-cv-00676-JLS-KES Document 10-8 Filed 05/06/19 Page 2 of 4 Page ID #:90


Roland Tong

From:                             H u sna in A la m da r < hu a la m da r@ gm a il.com >
Sent:                             Tu esda y ,A pril 9,20 19 1:29 PM
To:                               Rola nd Tong
Subject:                          F wd:Im a ges tha tha ve been copied from ou r websites.




----------Forw a rded m essa g e ---------
From : Cobra Combat <cobra com ba tu s@ g m a il.com >
Da te: Fri, M a r15, 2019 a t 7:56AM
Su bject: Re: Im a g es tha t ha ve beencopied from ou rw ebsites.
To: Ala m da r<hu s.a la m da r@ g m a il.com >


HelloM r.Alam dar,

Iappreciateyourem ailandatelephoneconversationw ehadyesterday.Ireally appreciateyourofferyesterday
regardingm anufacturingourproducts.T hatissom ethingIreally w illbeconsideringafterreview ingallm y
current m anufacturescontract.

 Asperourconversationfrom yesterday Ihad am eetingtoday inthem orningand Im adem y ow ndecisionthatm y
team w illtakeoff thepicturesyou pointedoutyesterday w ithin24 to48 hoursthis,w illbedone.O therthanthatI
w ould really appreciateifyou cantellthepersonw how aschattingw ithm eoverInstagram (Istilldon'tbelieveitw as
notyou) tobem oreprofessionalinapproachingotherofficialpageIG m essagesand don'ttalktopeoplelikehedid
w ithm ebecausethisw ay w illbringyou nootherthingsbuttroublestoyourcom pany. Justapieceofadvicepeoplelike
him ripsyourcom pany reputationtotally.

T hereisanotherpointItruly w ould liketo clarify .You contactedoneofm y sponsorathleteJustinM illeryesterday ,he
inform edm eyou w erehavingachatconversationoverhispersonalfbm essenger.You told him w eripped him offfrom
you (Isaw allofthechatsincehesentm ethescreenshotoftheconversation).T hatw asreally abad and low m ove
from aCom pany w horespectsathleteslikeyou told him inthatchat.Itlookstom ethat you triedto m anipulate
ateenagerand startedtopointoutsom epersonalissuesaboutoneofyourex em ployeeetc.P leaseIkindly
suggest you tohavesom edecency tocom estraightinsteadofgoingthroughabackdoors,pleaseunderstand heisjust
akid and hew asneversponsored by Elite. Hew asreally upsetthew ay you approachedtohim and itw asnot
professionalforanow nerofsuchasprestigiousCom pany tobehavethisw ay.

 Ihopeyou w on'tdothiskind oflow levelthingagaininfutureorIw illhavenootheroptionstopost allthepicturesof
yourconversationsw ithhim andothersw hofrom yesterday tilltoday aretellingm eElitesportshas
contacted over socialm ediachats.N o disrespectbetw een tw ocom panies,you cangoyourseparatew ay and Iw illgo
m ine.W earetw oCom paniesand doingbusinessonourow nw ay and Ihopeyou w on'tdothattypeofthigsagain.

Iw ishthatbothcom paniesw erenotinany kindofallegationandm uchlessinany kindofproblem s.Ireally donotknow
w hichofm y w orkershasbeenincontactw ithyourcustom ersasyou m entionedinyourem ailand ifthatishappeningI
guaranteeyou thatthisw illnothappenanym ore.T hisisnotthew ay Idobusinessatall.AllIw antism aintainagood
relationshipbetw eenbothCom paniesand leftallofthisbehind.W ithoutm orepointstoclarify Iw ishyou from m y
hum bleheartthatyourCorporationcontinuesto grow and continuetobe successfulasalw ays

Also likeIsaid beforeIw illreally beconsideringyourofferw hichisvery goodand tentativesinceyou offered areally
good deal.

                                                            1
     Case 8:19-cv-00676-JLS-KES Document 10-8 Filed 05/06/19 Page 3 of 4 Page ID #:91
W ould lovetogetbacktoyou soonw ithgreatnew saboutdoingbusinesstogether

Goodluckandm ay God continuetoblessyou




Bestregards

JannetteDom inguez

P resident

CobraCom batL L C



OnFri, M a r15, 2019 a t 12:14AM Ala m da r<hu s.a la m da r@ g m a il.com >w rote:
 Hello Ja nnette,


 https://w w w .elitesports.com /collections/bjj-no-g i-shorts

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 https://w w w .cobra com ba t.com /shorts


 https://w w w .cobra com ba t.com /cobra -com ba t-short-sleeve-ra sh-g u a rd-pu rple
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 (Looka t second im a g e)


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 https://w w w .cobra com ba t.com /cobra -com ba t-poison-m ens-spa t-pa nts-bla ck
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 FYI a lot of you rothercontent is copied from otherw ebsites a s w ellbu t a llthe a bove w e ha ve
 hig h resolu tionim a g es, Ou rm odela nd photog ra pherca nboth testify incou rt tha t these belong to u s. W e
 requ est to plea se rem ove these produ cts w ithinnext 24hou rs.

 if you ha ve a ny qu estionplea se ca llm e.

 Also plea se stop conta cting ou ra thletes a nd telling them tha t they shou ld sw itch over. Severa lof them ha ve
 rea ched ou t to u s a nd inform ed u s.
                                                             2
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H Alamdar
President
M otorc yc le H ou se
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a: 340 N Palm St a, Brea, CA 92821




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